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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
                                              §
                                              §
VS.                                           §     CRIMINAL NO. H-11-165
                                              §
                                              §
                                              §
NATHANIEL GORDON III                          §

                                         ORDER

       Nathaniel Gordon, III’s motion for extension of time to surrender is granted in part.

Mr. Gordon’s surrender date is extended to after August 31, 2014, to permit him to make

additional arrangements to assist his family and to obtain rehabilitation on his shoulder. The

request for an extension to after January 1, 2015 is denied.

              SIGNED on July 10, 2014, at Houston, Texas.

                                                  ______________________________________
                                                           Lee H. Rosenthal
                                                     United States District Judge
